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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

Case No.: 19-cv-81512-MIDDLEBROOKS/Brannon
NADEL DIAZ VALDEZ,
Plaintiff,
v.

MEDICREDIT, INC. and JFK MEDICAL
CENTER LIMITED PARTNERSHIP,

Defendants.
/

ORDER OF REFERENCE

THIS CAUSE comes before the Court upon the Parties’ Joint Notice of Consent to Proceed Before
a United States Magistrate Judge (DE 11), filed on December 11, 2019. The Parties consent to the exercise
of jurisdiction by the Magistrate Judge over any and all further proceedings in the above-captioned matter,
including entry of final judgment.

Accordingly, it is hereby ORDERED AND ADJUDGED that, pursuant to 28 U.S.C. § 636(c),
Federal Rule of Civil Procedure 73, and the Magistrate Judge Rules of the Local Rules of the Southern
District of Florida, the above-captioned case is hereby referred to United States Magistrate Judge Dave

Lee Brannon for all further proceedings including trial, entry of judgment, and post-judgment proceedings.

SIGNED in Chambers at West Palm Beach, Florida, this / ecember, 2019.

  

 

INALD M. MIDDLEBROOKS
UNITED STATES DISTRICT JUDGE
